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 6   Attorney for Defendant DIANA JING JING HOJSAK LU
 7

 8
                            UNITED STATES DISTRICT COURT
 9

10                       NORTHERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA               )               No. CR 07-0325-PJH
12                                          )
             Plaintiff,                     )               STIPULATION AND
13
                                            )               [PROPOSED] ORDER
14           v.                             )               RETURNING PASSPORT
                                            )
15   DIANA JING JING HOJSAK,                )
16   a/k/a JING JING LU,                    )
                                            )
17                                          )
18           Defendant.                     )
                                            )
19   ______________________________________ )
20

21         IT IS HEREBY STIPULATED BETWEEN the plaintiff, through its counsel,
22
     Assistant United States Attorney, Cynthia Stier, and defendant, through her counsel,
23
     Christopher J. Cannon, that the Clerk may return defendant Diana Hojsak’s passport
24

25   to her counsel, Christopher Cannon.
26
     Date: March 18, 2011                            __________/s/________________
27                                                   Christopher J. Cannon
                                                     Counsel for Diana Hojsak Lu
28
        Case 4:07-cr-00325-PJH Document 279 Filed 09/01/11 Page 2 of 3




 1

 2   Date: March 18, 2011                    ____________/s/_______________
                                             Cynthia Stier
 3
                                             Assistant United States Attorney
 4

 5

 6
           SO ORDERED.
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 8

 9

10   Date: September 1, 2011
                                             ____________________________
11
                                             The Honorable Nandor J. Vadas
12                                           United States Magistrate Judge
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 1                            PROOF OF SERVICE FOR FILING BY CM/ECF
 2

 3
             I, the undersigned, declare:

 4           I am employed in the City and County of San Francisco, State of California. I am
 5
     over the age of 18 years and not a party to the within action; my business address is 180
 6
     Montgomery Street, Suite 2350, San Francisco, California 94104.
 7

 8   On March 18th, 2011 I served the within:
 9

10          STIPULATION AND [PROPOSED] ORDER RETURNING PASSPORT
11

12
     By electronically filing the foregoing with the United States District Court Northern
13

14   California using the CM/ECF system.
15
             I certify that all participants in the case are registered CM/ECF users and that service
16
     will be accomplished by the CM/ECF system.
17

18   ----------------------------------------------------------------------------

19   Cynthia Stier, U.S. Attorney’s Office: cynthia.stier@usdoj.gov
20
     ------------------------------------------------------------------------------------------------
21

22
             I declare under the penalty of perjury that the foregoing is true and correct, and that

23   this declaration was executed on March 18th, 2011, at San Francisco, California.
24

25

26
                                                        //s// Rebecca Dinkel //s//
                                                        Rebecca Dinkel
27

28




     PROOF OF SERVICE
